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               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF HAWAII

TODD YUKUTAKE and DAVID           )
KIKUKAWA                          )
                                  )
Plaintiffs,                       )
                                  ) Civil Action No. 19-578 (JMS-RT)
v.                                )
                                  ) RESPONSE IN OPPOSITION TO;
CLARE E. CONNORS, in her          ) MOTION TO STAY [113]; MEMO-
Official Capacity as the Attorney ) RANDUM IN OPPOSITION TO
General of the State of Hawaii    ) DEFENDANT’S MOTION TO STAY;
                                  ) CERTIFICATE OF SERVICE
                                  )
                                  )    JUDGE: Hon. J. Michael Seabright
                                  )
Defendant.                        )
_______________________________)
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                      RESPONSE IN OPPOSITION TO
                     DEFENDANT’S MOTION TO STAY

      Come now the Plaintiffs, by and through counsel of record, and for their

response to Defendant’s Motion to Stay (“the Motion”), show unto the Court the

following:

      Defendant filed her Motion to Stay Pending Appeal on August 31, 2021

[Docket # 113]. Plaintiffs oppose this Motion and rely on the arguments raised in

the attached Memorandum in Opposition, the record, the Declaration of Counsel, the

Declaration of Jon Abott, and any argument made if the Court requests a hearing on

this matter. Because Defendant has wholly failed to make the requisite showing that

she is entitled to a stay pending appeal, the Court should deny her Motion.

      Respectfully submitted,


Dated: September 13, 2021.

                                      /s/ Alan Alexander Beck
                                      Alan Alexander Beck

                                      /s/ Stephen D. Stamboulieh
                                      Stephen D. Stamboulieh

                                      Attorneys for Plaintiffs
